
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NOS. 2-05-383-CR

2-05-384-CR

2-05-385-CR





DAVID A. SOLIS 	APPELLANT

V.

THE STATE OF TEXAS	STATE

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FROM COUNTY CRIMINAL COURT NO. 4 OF TARRANT COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered appellant's “Motion To Withdraw Appeal.” &nbsp;The motion complies with rule 42.2(a) of the rules of appellate procedure. 
 Tex. R.
 
App
. P. 42.2(a). &nbsp;No decision of this court having been delivered before we received this motion, we grant the motion and dismiss these appeals. 
 See 
Tex. R. App. P.
 42.2(a), 43.2(f). 

PER CURIAM

PANEL D:	LIVINGSTON, DAUPHINOT, and HOLMAN, JJ.



DO NOT PUBLISH

Tex. R. App. P. 
47.2(b)



DELIVERED: November 3, 2005

FOOTNOTES
1:See
 
Tex. R. App. P. 
47.4.




